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                                    ATTACHMENT A-1 (Victims - First Priority)
RESTITUTION SHALL BE PAID TO:                     AMOUNT            JOINT AND SEVERAL INFORMATION

Access General Insurance Company                  $9,332.98         with defendants Soriano-Villafan and Sanchez Becerra
3 Ravinia Drive, Ste. 400
Atlanta, GA, 30346

Alliance United Insurance Company                 $11,756.56        with defendant Sanchez Becerra
P.O. Box 6042
Camarillo, CA, 93011

Allstate Insurance Company                        $10,890.35        with defendants Soriano-Villafan and Sanchez Becerra
10100 Trinity Parkway, #200
Stockton, CA, 95219

Explorer Insurance                                $17,880.86        with defendant Soriano-Villafan
P.O. Box 906
Santa Clarita, CA, 91380

Farmers Insurance                                 $39,475.47        with defendants Soriano-Villafan and Apu up to their respective
1190 Saratoga Ave. Suite 200                                        restitution amounts
San Jose, CA, 95129

GEICO                                             $98,754.85        with defendants Soriano-Villafan, Apu and Sanchez Becerra up to
712 Bancroft Rd. #280                                               their respective restitution amounts
Walnut Creek, CA, 94598

Infinity Insurance Company                        $7,739.23         with defendant Soriano-Villafan
13340 183rd St., Suite 100
Cerritos, CA, 90703

Kemper Services Group                             $21,415.28
603 Seagaze Drive #794
Oceanside, CA, 92054
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Nationwide Insurance                                $12,214.18     with defendants Soriano-Villafan and Apu up to their respective
N2128 - Nationwide, Three Nationwide Plaza                         restitution amounts
Columbus, OH, 43215


Personable Claims Services, Inc.                     $10,402.45
18100 Von Karman Ave # 350
Irvine, CA, 92612

Sentry Insurance                                     $7,032.08
9060 E. Via Linda Blvd
Scottsdale, AZ, 85258

State Farm Insurance                                 $10,431.61          with defendants Soriano-Villafan and Sanchez Becerra up to their
P.O. Box 52257                                                           respective restitution amounts
Phoenix, AZ, 85072-2257
                                           TOTAL: $257,325.90
